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                                                                FILED: March 15, 2013

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                        ___________________

                                            No. 12-8052 (L)
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a Dobie Parker

                       Defendant - Appellant

                                        ___________________

                                              No. 13-4208
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, Dobie Parker

                       Defendant - Appellant

                                        ___________________

                                             ORDER
                                        ___________________
Appeal: 12-8052     Doc: 10        Filed: 03/15/2013 Pg: 2 of 2
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                  The court consolidates Case No. 12-8052 and Case No. 13-4208. Entry of

        appearance forms and disclosure statements filed by counsel and parties to the lead

        case are deemed filed in the secondary case.

                                                For the Court--By Direction

                                                /s/ Patricia S. Connor, Clerk
